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                          UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

PIERSON VALLES,                               §
                       Plaintiff,             §
                                              §
v.                                            §      CAUSE NO. 4:22-cv-00568
                                              §
ACT, INC.,                                    §
                       Defendant.             §

                  PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL

        Plaintiff Pierson Valles hereby gives notice of voluntary dismissal of the above-captioned

matter pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i).

     DATED: July 29, 2022

                                                            Respectfully submitted,

                                                            s/ Mark Whitburn
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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document was served by ECF filing service on counsel

or record for Defendant on July 29, 2022, as follows:

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                                                          s/ Mark Whitburn
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